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                                                      13   FELIPE MAGALLON
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                                                      14
                                                                                 UNITED STATES DISTRICT COURT
                                                      15                       SOUTHERN DISTRICT OF CALIFORNIA
                                                      16
                                                           FELIPE MAGALLON, individually and  )      Case No. 3:16-cv-02971-JAH-BLM
                                                      17   on behalf of others similarly situated,
                                                                                              )
                                                      18
                                                                                              )      CLASS ACTION
                                                                         Plaintiff,           )
                                                      19                                      )
                                                      20
                                                                  vs.                         )      FIRST AMENDED CLASS ACTION
                                                                                              )      COMPLAINT FOR VIOLATION OF:
                                                      21                                      )
                                                      22
                                                           VITAL RECOVERY SERVICES, LLC. )           1. THE FAIR DEBT COLLECTION
                                                           and VITAL SOLUTIONS, INC.,         )      PRACTICES ACT; AND
                                                      23                                      )
                                                      24
                                                                         Defendants.          )      2. THE ROSENTHAL FAIR DEBT
                                                                                              )      COLLECTION PRACTICES ACT
                                                      25                                      )
                                                      26                                      )
                                                                                              )      DEMAND FOR JURY TRIAL
                                                      27                                      )
                                                      28   __________________________________ )

                                                                                                 -1-
                                                                                FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1          Plaintiff FELIPE MAGALLON alleges as follows:

                                                      2                                         INTRODUCTION

                                                      3          1.       Plaintiff FELIPE MAGALLON (hereinafter referred to as “Plaintiff”),

                                                      4    brings this lawsuit against VITAL RECOVERY SERVICES, LLC. (hereinafter

                                                      5    “VRS”) and VITAL SOLUTIONS INC. (hereinafter “VSI”) for violations of the

                                                      6    Federal Fair Debt Collection Practices Act (“FDCPA”), and Rosenthal Fair Debt
                                                      7    Collections Practice Act (“Rosenthal FDCPA”).
                                                      8          2.       Plaintiff brings this action to seek actual damages, statutory damages,
                                                      9    injunctive relief, attorneys’ fees and costs, and other relief the Court deems
                                                      10   appropriate.
                                                      11         3.       Plaintiff alleges as follows, upon personal knowledge as to himself and
                                                      12   his own acts and experiences, and, as to all other matters, upon information and
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                                                      13   belief, including investigation conducted by his attorneys.
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                                                      14         4.       Plaintiff makes these allegations on information and belief, with the
                                                      15   exception of those allegations that pertain to Plaintiff, or to a Plaintiff's counsel,
                                                      16   which Plaintiff alleges on personal knowledge.
                                                      17         5.       While many violations are described below with specificity, this First
                                                      18   Amended Complaint alleges violations of the statutes cited in their entirety.
                                                      19         6.       Unless otherwise stated, Plaintiff alleges that any violations by
                                                      20   Defendants were knowing and intentional, and that Defendants did not maintain
                                                      21   procedures reasonably adapted to avoid any such violations.
                                                      22         7.       Unless otherwise indicated, the use of Defendants in this First Amended
                                                      23   Complaint includes all agents, employees, officers, members, directors, heirs,
                                                      24   successors, assigns, principals, trustees, sureties, subrogees, representatives, and
                                                      25   insurers of Defendants.
                                                      26                                           PARTIES
                                                      27         8.       Plaintiff is, and at all times mentioned herein was, an individual, residing
                                                      28   in the County of San Diego, State of California.

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                                                                                 FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1          9.     Plaintiff is a “consumer” as the term is defined by 15 U.S.C. section

                                                      2    1692a(3) and a “debtor” as the term is defined by California Civil Code section

                                                      3    1788.2(h).

                                                      4          10.    Plaintiff is informed and believes, and thereupon alleges, that Defendant

                                                      5    VSI is, and at all times mentioned herein was, a corporation who was conducting and

                                                      6    engaging in business in the County of San Diego, State of California.
                                                      7          11.    Plaintiff is informed and believes, and thereupon alleges, that Defendant
                                                      8    VRS is, and at all times mentioned herein was, a limited liability company who was
                                                      9    conducting and engaging in business in the County of San Diego, State of California.
                                                      10         12.    Plaintiff is informed and believes, and thereupon alleges, that Defendants
                                                      11   use an instrumentality of interstate commerce or the mails in a business the principal
                                                      12   purpose of which is the collection of debts, or who regularly collects or attempts to
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                                                      13   collect, directly or indirectly, debts owed or due or asserted to be owed or due another
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                                                      14   and is therefore a “debt collector” as the term is defined by 15 U.S.C. section
                                                      15   1692a(6).
                                                      16         13.    Plaintiff is informed and believes, and thereupon alleges that Defendants
                                                      17   are both a “debt collector” as the term is defined by Civil Code section 1788.2(c).
                                                      18         14.    Defendants attempted to collect a “consumer debt” as the term is defined
                                                      19   by the FDCPA and Rosenthal FDCPA.
                                                      20         15.    Plaintiff is informed and believes and thereupon alleges that at all times
                                                      21   herein mentioned each of the Defendants was the agent, servant, employee, or partner
                                                      22   of each of the remaining defendants and, in committing the acts and omissions
                                                      23   hereinafter alleged, was acting within the course and scope of such agency,
                                                      24   employment, partnership, or other business relationship, and were each responsible
                                                      25   for the acts and omissions alleged in this First Amended Complaint.
                                                      26                             JURISDICTION AND VENUE
                                                      27         16.    This Court has jurisdiction under 15 U.S.C. section 1692k(d), 28 U.S.C.
                                                      28   section 1331, and 28 U.S.C. section 1367 for supplemental state claims.

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                                                                               FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1          17.    This action arises out of violations of the FDCPA and Rosenthal

                                                      2    FDCPA. Because Defendants do business within the State of California, County of

                                                      3    San Diego, personal jurisdiction is established.

                                                      4          18.    Venue is proper pursuant to 28 U.S.C. section 1391.

                                                      5                                     RELEVANT FACTS

                                                      6          19.    Sometime after April 4, 2016, Plaintiff received his first collection notice
                                                      7    dated April 4, 2016 (hereinafter referred to as “Validation Notice”) from Defendant
                                                      8    VRS, attempting to collect a debt in the amount of $23,450.21.             The debt was
                                                      9    allegedly owed to LendingClub. A copy of the Validation Notice is attached hereto
                                                      10   as Exhibit 1, and is incorporated herein by reference.
                                                      11         20.    Defendant VRS’ Validation Notice does not state that the $23,450.21
                                                      12   debt is accruing interest, the interest rate interest at which the interest is accruing, or
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                                                      13   the portion of the debt that is principal and the portion of the Debt that is accrued
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                                                      14   interest or other fees. In fact, Defendant VRS’ Validation Notice is completely devoid
                                                      15   of any language that would either confirm or deny the existence of acquiring interest.
                                                      16         21.    Upon information and belief, Defendant VRS was charging daily
                                                      17   accruing interest on the debt.
                                                      18         22.    Upon information and belief, Defendant VRS’ debt collection practice is
                                                      19   largely automated and utilizes standardized form letters or templates.
                                                      20         23.    Upon information and belief, Defendant VRS is a subsidiary of
                                                      21   Defendant VSI.
                                                      22         24.    Upon information and belief, Defendant VSI directed Defendant VRS’
                                                      23   alleged misconduct.
                                                      24         25.    Upon information and belief, Defendant VSI devises collection policies
                                                      25   and practices for Defendant VRS.
                                                      26         26.    Upon information and belief, Defendant VSI shared common officers
                                                      27   and directors with VRS.
                                                      28         27.    Upon information and belief, Defendant VSI has no employees.

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                                                                                 FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1           28.   Upon information and belief, Defendant VSI and Defendant VRS share

                                                      2    the same principal place of business.

                                                      3           29.   Upon information and belief, Defendant VSI creates compliance policies

                                                      4    for Defendant VRS.

                                                      5           30.   Upon information and belief, Defendant VRS takes direction from

                                                      6    Defendant VSI.
                                                      7           31.   Upon information and belief, Defendant VSI finances Defendant VRS.
                                                      8           32.   Upon information and belief, Defendant VSI is the employer of all
                                                      9    Defendant VRS employees.
                                                      10          33.   Upon information and belief, Defendant VRS must present compliance
                                                      11   changes and updates to the officers and directors of Defendant VSI for approval.
                                                      12          34.   Upon information and belief, Defendant VRS is an agent of Defendant
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                                                      13   VSI.
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                           TEL: (858) 348-4938




                                                      14          35.   Upon information and belief, Defendant VSI is an alter ego of Defendant
                                                      15   VRS.
                                                      16                                 CLASS ALLEGATIONS
                                                      17          36.   Plaintiff brings this action on his own behalf, and on behalf of all others
                                                      18   similarly situated.
                                                      19   FDCPA CLASS
                                                      20                                           CLASS A
                                                      21          37.   Plaintiff defines the FDCPA “CLASS A” as follows:
                                                      22                All persons located in the State of California to whom
                                                      23                Defendant VRS sent, within one year before the date of this
                                                                        complaint and in connection with the collection of a consumer
                                                      24                debt, an initial written communication that is substantially
                                                      25                similar or materially identical to Defendant VRS’ April 4, 2016
                                                                        Validation Notice which was not returned undelivered by the
                                                      26                United States Postal Service, in which Defendant VRS failed to
                                                      27                clearly state the amount of the debt in violation of 15 U.S.C.
                                                                        section 1692g(a)(1).
                                                      28


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                                                                                 FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1                                      CLASS B

                                                      2        38.   Plaintiff defines the FDCPA “CLASS B” as follows:
                                                      3
                                                                     All persons located in the State of California to whom
                                                      4              Defendant VRS sent, within one year before the date of this
                                                      5              complaint and in connection with the collection of a consumer
                                                                     debt, an initial written communication that is substantially
                                                      6              similar or materially identical to Defendant VRS’ April 4, 2016
                                                      7              Validation Notice which was not returned undelivered by the
                                                                     United States Postal Service, in which Defendant VRS failed to
                                                      8              disclose that the debt was subject to daily accruing interest
                                                      9              rendering the Validation Notice deceptive, confusing, and
                                                                     misleading in violation of 15 U.S.C. sections 1692e,
                                                      10
                                                                     1692e(2)(A), and 1692e(10).
                                                      11
                                                           ROSENTHAL FDCPA CLASS
                                                      12
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                                                      13                                     CLASS A
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                                                      14
                                                               39.   Plaintiff defines the Rosenthal FDCPA “CLASS A” as follows:
                                                      15
                                                                     All persons located in the State of California to whom
                                                      16             Defendant VRS sent, within one year before the date of this
                                                                     complaint and in connection with the collection of a consumer
                                                      17
                                                                     debt, an initial written communication that is substantially
                                                      18             similar or materially identical to Defendant VRS’ April 4, 2016
                                                                     Validation Notice which was not returned undelivered by the
                                                      19
                                                                     United States Postal Service, in which Defendant VRS failed to
                                                      20             clearly state the amount of the debt in violation of 15 U.S.C.
                                                                     section 1692g(a)(1).
                                                      21

                                                      22                                     CLASS B
                                                      23       40.   Plaintiff defines the Rosenthal FDCPA “CLASS B” as follows:
                                                      24
                                                                     All persons located in the State of California to whom
                                                      25             Defendant VRS sent, within one year before the date of this
                                                      26             complaint and in connection with the collection of a consumer
                                                                     debt, an initial written communication that is substantially
                                                      27
                                                                     similar or materially identical to Defendant VRS’ April 4, 2016
                                                      28             Validation Notice which was not returned undelivered by the

                                                                                             -6-
                                                                            FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1                 United States Postal Service, in which Defendant VRS failed to
                                                                        disclose that the debt was subject to daily accruing interest
                                                      2                 rendering the Validation Notice deceptive, confusing, and
                                                      3                 misleading in violation of 15 U.S.C. sections 1692e,
                                                                        1692e(2)(A), and 1692e(10).
                                                      4

                                                      5          41.    The FDCPA Class and the Rosenthal FDCPA Class shall be referred to

                                                      6    jointly as “The Classes.”
                                                      7          42.    Defendants and their employees or agents are excluded from the Classes.
                                                      8          43.    Plaintiff does not know the exact number of persons in the Classes, but
                                                      9    believes them to be in the several hundreds, if not thousands, making joinder of all
                                                      10   these actions impracticable.
                                                      11         44.    The identity of the individual members is ascertainable through
                                                      12   Defendants and/or Defendants’ agents’ records or by public notice.
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                                                      13         45.    There is a well-defined community of interest in the questions of law and
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                                                      14   fact involved affecting the members of the Classes. The questions of law and fact
                                                      15   common to the Classes predominate over questions affecting only individual class
                                                      16   members, and include, but are not limited to, the following:
                                                      17         a)     Whether Defendants violated the FDCPA by sending a written
                                                                        communication substantially in the form of Exhibit 1 to the members of
                                                      18
                                                                        the Classes;
                                                      19
                                                                 b)     Whether Defendants violated the Rosenthal FDCPA by sending using a
                                                      20
                                                                        written communication substantially in the form of Exhibit 1 to the
                                                      21                members of the Classes;
                                                      22
                                                                 c)     Whether members of the Classes are entitled to the remedies under the
                                                      23                FDCPA;
                                                      24
                                                                 d)     Whether members of the Classes are entitled to the remedies under the
                                                      25                Rosenthal FDCPA;
                                                      26
                                                                 e)     Whether members of the Classes are entitled to declaratory relief;
                                                      27
                                                                 f)     Whether members of the Classes are entitled to an award of reasonable
                                                      28
                                                                        attorneys’ fees and costs of suit pursuant to the FDCPA;
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                                                      1
                                                                  g)     Whether members of the Classes are entitled to an award of reasonable
                                                      2                  attorneys’ fees and costs of suit pursuant to the Rosenthal FDCPA.
                                                      3
                                                                  46.    Plaintiff will fairly and adequately protect the interest of the Classes.
                                                      4
                                                                  47.    Plaintiff has retained counsel experienced in consumer class action
                                                      5
                                                           litigation and in handling claims involving unlawful debt collection practices.
                                                      6
                                                                  48.    Plaintiff’s claims are typical of the claims of the Classes, which all arise
                                                      7
                                                           from the same operative facts involving unlawful collection practices.
                                                      8
                                                                  49.    A class action is a superior method for the fair and efficient adjudication
                                                      9
                                                           of this controversy.
                                                      10
                                                                  50.    Class-wide damages are essential to induce Defendants to comply with
                                                      11
                                                           the Federal and State laws alleged in the First Amended Complaint.
                                                      12
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                                                                  51.    The interests of class members in individually controlling the
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                                                      13
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                                                           prosecution of separate claims against Defendants is small because the maximum
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                                                      14
                                                           statutory damages in an individual action under the FDCPA or Rosenthal FDCPA is
                                                      15
                                                           $1,000. Management of these claims is likely to present significantly fewer
                                                      16
                                                           difficulties than those presented in many class claims, e.g. securities fraud.
                                                      17
                                                                  52.    Defendants have acted on grounds generally applicable to the Classes,
                                                      18
                                                           thereby making appropriate final declaratory relief with respect to the class as a
                                                      19
                                                           whole.
                                                      20
                                                                  53.    Plaintiff contemplates providing notice to the putative class members by
                                                      21
                                                           direct mail in the form of a postcard and via Internet website.
                                                      22
                                                                  54.    Plaintiff requests certification of a hybrid class combining the elements
                                                      23
                                                           of Fed. R. Civ. P. 23(b)(3) for monetary damages and Fed. R. Civ. P. 23(b)(2) for
                                                      24
                                                           equitable relief.
                                                      25
                                                                                        FIRST CAUSE OF ACTION
                                                      26
                                                                                         (Violation of the FDCPA)
                                                      27
                                                                  55.    Plaintiff re-alleges all paragraphs above, as if fully set forth herein.
                                                      28


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                                                                                  FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1          COUNT 1

                                                      2          56.    Defendants violated 15 U.S.C. section 1692g(a)(1) because its Validation

                                                      3    Notice failed to clearly state the amount of the debt. Defendants failed to clearly state

                                                      4    the amount of the debt because it failed to disclose that the debt was subject to daily

                                                      5    accruing interest. It is well established that a debt collector, who attempts to collect

                                                      6    accruing interest on a debt, must use some type of safe harbor language informing the
                                                      7    debtor that the debt increases due to daily accruing interest. See Akram v. California
                                                      8    Business Bureau Inc., 2016 WL 7029262 (S.D. Cal. Oct. 3, 2016); Chuway v.
                                                      9    National Action Financial Services, Inc., 362 F.3d 944, 949 (7th Cir. 2004); Miller v.
                                                      10   McCalla, Raymer, Padrick, Cobb, Nichols, & Clark, L.L.C., 214 F.3d 872, 876 (7th
                                                      11   Cir. 2000); Dragon v. I.C. System, Inc., 483 F.Supp.3d 198, 203 (D. Conn. 2007).
                                                      12         COUNT 2
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                                                      13         57.    Defendants violated 15 U.S.C. sections 1692e, 1692e(2)(A), and
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                                                      14   1692e(10) because its Validation Notice failed to disclose that the debt is subject to
                                                      15   daily accrual of interest, which makes the Validation Notice deceptive, confusing, and
                                                      16   misleading. See Avila v. Riexinger & Assocs., LLC, 817 F.3d 72 (2d Cir. 2016). In
                                                      17   Avila, the Second Circuit stated the following:
                                                      18         “A reasonable consumer could read the notice and be misled into believing that
                                                                 she could pay her debt in full by paying the amount listed on the notice. In fact,
                                                      19
                                                                 however, if interest is accruing daily, or if there are undisclosed late fees, a
                                                      20         consumer who pays the “current balance” stated on the notice will not know
                                                                 whether the debt has been paid in full. The debt collector could still seek the
                                                      21
                                                                 interest and fees that accumulated after the notice was sent but before the
                                                      22         balance was paid, or sell the consumer's debt to a third party, which itself could
                                                                 seek the interest and fees from the consumer.
                                                      23

                                                      24         Because the statement of an amount due, without notice that the amount is
                                                                 already increasing due to accruing interest or other charges, can mislead the
                                                      25
                                                                 least sophisticated consumer into believing that payment of the amount stated
                                                      26         will clear her account, we hold that the FDCPA requires debt collectors, when
                                                                 they notify consumers of their account balance, to disclose that the balance may
                                                      27
                                                                 increase due to interest and fees
                                                      28


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                                                      1    See Avila, 817 F.3d at p. 76; also see the reasoning of Dragon, 483 F.Supp.3d 198,

                                                      2    201-203; Marucci v. Cawley & Bergmann LLP., 2014 WL 7140496 (D. N.J 2014);

                                                      3    Michalek v. ARS Nat. Sys., Inc. 2011 WL 6180498 at *3-5 (M.D. Pa. 2011); Smith v.

                                                      4    Lyons, Doughty & Veldhuius, P.C. 2008 WL2885887 at *7 (D. N.J. 2008), which

                                                      5    Plaintiff incorporates in this First Amended Complaint.

                                                      6           58.    As a result of each and every violation of the FDCPA, as alleged in
                                                      7    Counts 1 and 2, Plaintiff has suffered actual damages and harm resulting from
                                                      8    Defendants’ actions as heretofore alleged, including but not limited to worry,
                                                      9    emotional distress, anxiety, and humiliation, the exact amount of which is to be
                                                      10   proven at trial.
                                                      11          59.    As a result of each and every violation of the FDCPA, as alleged in
                                                      12   Counts 1 and 2, Plaintiff incurred additional actual damages including, but not limited
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                                                      13   to, transportation and gasoline costs to the law firm, telephone call charges, copies,
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                                                      14   postage, and other damages.
                                                      15          60.    As a result of each and every violation of the FDCPA, as alleged in
                                                      16   Counts 1 and 2, Plaintiff is entitled to actual damages pursuant to 15 U.S.C. section
                                                      17   1692k(a)(1); statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C.
                                                      18   section 1692k(a)(2)(A); and reasonably attorneys’ fees and costs pursuant to 15
                                                      19   U.S.C. section 1692k(a)(3).
                                                      20                               SECOND CAUSE OF ACTION
                                                                                     (Violation of the Rosenthal FDCPA)
                                                      21
                                                                  61.    Plaintiff re-alleges all paragraphs above, as if fully set forth herein.
                                                      22
                                                                  62.    Any violation of the FDCPA is a violation of California Civil Code
                                                      23
                                                           section 1788.17, also known as the Rosenthal FDCPA, because section 1788.17
                                                      24
                                                           incorporates the FDCPA.
                                                      25
                                                                  63.    Defendants violated Civil Code section 1788.17 because it violated 15
                                                      26
                                                           U.S.C. sections 1692e, 1692e(2)(A) and 1692e(10), and 1692g(a)(1), as discussed
                                                      27
                                                           above.
                                                      28


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                                                      1          64.    The Ninth Circuit in Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,

                                                      2    1066 (9th Cir. 2011) has ruled that the Rosenthal FDCPA incorporates the FDCPA’s

                                                      3    class action damages provision in 15 U.S.C. section 1692k(a)(2)(B) via California

                                                      4    Civil Code section 1788.17.

                                                      5          65.    As a result of each and every violation of the Rosenthal FDCPA,

                                                      6    Plaintiff has suffered actual damages and harm resulting from Defendants’ actions as
                                                      7    heretofore alleged, including but not limited to worry, emotional distress, anxiety, and
                                                      8    humiliation, the exact amount of which is to be proven at trial.
                                                      9          66.    As a result of each and every violation of the Rosenthal FDCPA,
                                                      10   Plaintiff incurred additional actual damages including, but not limited to,
                                                      11   transportation and gasoline costs to the law firm, telephone call charges, copies,
                                                      12   postage, and other damages.
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                                                      13         67.    As a result of each and every violation of the Rosenthal FDCPA,
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                          SAN DIEGO, CA 92150
                           TEL: (858) 348-4938




                                                      14   Plaintiff is entitled to actual damages pursuant to California Civil Code section
                                                      15   1788.30(a); statutory damages under 1692k(a)(2)(A) which is incorporated by
                                                      16   California Civil Code section 1788.17; statutory damages for a knowing or willful
                                                      17   violation in the amount of up to $1,000.00 pursuant to California Civil Code section
                                                      18   1788.30(b); and reasonable attorney’s fees and costs pursuant to California Civil
                                                      19   Code section 1788.30(c).
                                                      20                  REQUEST FOR PRESERVATION OF EVIDENCE
                                                      21         1.     Preserve all forms of electronic data, regardless of where the data exists,
                                                      22   without modification to or deletion of any potentially discoverable data;
                                                      23         2.     Suspend all procedures that may alter or delete computer data;
                                                      24         3.     Prevent deleting, overwriting, defragmenting, or compressing the data;
                                                      25         4.     Preserve all archived back-up tapes and ensure that (a) if archive tapes
                                                      26   are rotated, the relevant tapes are removed from the rotation; (b) if backups are made
                                                      27   to hard drives, preserve the hard drive as well;
                                                      28


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                                                                                FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1          5.     Preserve the contents of all hard drives, network drives, tape drives,

                                                      2    optical drives, floppy disks, CD and DVD drives, and all other types of drives or

                                                      3    storage media that are within the possession, custody or control of all people who

                                                      4    have knowledge of relevant facts and those who work with them, such as assistants;

                                                      5          6.     Preserve the contents of all information on portable computers–such as

                                                      6    laptops and palmtops–used by those people as well as home computers, if these are
                                                      7    used for work purposed;
                                                      8          7.     Preserve the contents of all data on computers that were used since the
                                                      9    limitations period on the lawsuit began (for example; one year prior to filing) but that
                                                      10   are no longer in use.
                                                      11                               REQUEST FOR JURY TRIAL
                                                      12         As declared by the seventh amendment to the Constitution of the United States
                   11251 RANCHO CARMEL DR. # 500694
                    A PROFESSIONAL CORPORATION
MASHIRI LAW FIRM




                                                      13   of America, Plaintiff is entitled to, and demands, a trial by jury.
                          FAX: (858) 858-348-4939
                          SAN DIEGO, CA 92150
                           TEL: (858) 348-4938




                                                      14                 PRAYER FOR DAMAGES AND OTHER REMEDIES
                                                      15         1.     An order certifying the Class as requested herein;
                                                      16         2.     An order appointing the Plaintiff as the representative of the Class;
                                                      17         3.     An order certifying Plaintiff’s counsel as Class Counsel;
                                                      18         4.     An order requiring Defendant, at its own cost, to notify all members of
                                                      19   the Classes of the unlawful acts discussed herein;
                                                      20         5.     Injunctive relief requiring Defendant to clearly state the accurate amount
                                                      21   of the debt in its Validation Notice in compliance with 15 U.S.C. section 1692g(a)(1);
                                                      22         6.     Injunctive relief requiring Defendant to disclose, in its Validation Notice,
                                                      23   that the debt is subject to daily accrual of interest;
                                                      24         7.     An award of statutory damages in the amount of $1,000.00, pursuant to
                                                      25   15 U.S.C. section 1692k(a)(2)(A), for each plaintiff and putative class member;
                                                      26         8.     An award of statutory damages in the amount of $1,000.00, pursuant to
                                                      27   California Civil Code section 1788.17, for each plaintiff and putative class member;
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                                                                                FIRST AMENDED CLASS ACTION COMPLAINT
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                                                      1          9.    An award of statutory damages in the amount of $1,000.00, pursuant to

                                                      2    California Civil Code section 1788.30(b), for each plaintiff and putative class

                                                      3    member;

                                                      4          10.   An award of costs of litigation and reasonable attorney’s fees, pursuant

                                                      5    to 15 U.S.C. section 1692k(a)(3);

                                                      6          11.   An award of costs of litigation and reasonable attorney’s fees, pursuant
                                                      7    to California Civil Code section 1788.30(c); and
                                                      8          12.   Any and all other relief that this Court deems just and proper.
                                                      9    Respectfully Submitted,
                                                      10   DATED: March 19, 2018                 MASHIRI LAW FIRM
                                                                                                 A Professional Corporation
                                                      11

                                                      12                                         By: /s/ Alex Asil Mashiri
                                                                                                     Alex Asil Mashiri
                   11251 RANCHO CARMEL DR. # 500694
                    A PROFESSIONAL CORPORATION
MASHIRI LAW FIRM




                                                      13                                             Attorney for Plaintiff
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                                                      14                                             Felipe Magallon

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                                                                               FIRST AMENDED CLASS ACTION COMPLAINT
